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                          IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF SOUTH CAROLINA

                                       COLUMBIA DIVISION

International Brotherhood of Electrical Workers
Local 98 Pension Fund, on behalf of itself and        Case No. 3:19-cv-3304
all others similarly situated,

                              Plaintiff,              ORDER REGARDING MOTION TO
         vs.                                          CLARIFY CASE LEADERSHIP

Deloitte & Touche LLP, Deloitte LLP,

                              Defendants.

          Under Section 21D(a)(3)(B) of the Securities Exchange Act of 1934 (“Exchange Act”), as

amended by the Private Securities Litigation Reform Act of 1995 (“PSLRA”), and this Court’s

February 18, 2020 Order Appointing International Brotherhood of Electrical Workers Local 98

Pension Fund (“Lead Plaintiff” or “Pension Fund”) as Lead Plaintiff and Approving Selection of

Counsel, and for good cause shown:

          1.     The Court reaffirms its finding that the Pension Fund satisfies the requirements for

lead plaintiff under Section 21D(a)(3)(B) of the Exchange Act and that no proof has been adduced

showing that the Pension Fund will not fairly and adequately represent the interests of the putative

class.

          2.     The Court directs the Clerk of Court to substitute the Pension Fund for Samuel R.

Floyd, III in the caption of this action, and to remove Mr. Floyd as a party to the action.

          3.     The Court reaffirms its findings that the Pension Fund, under Section 21D(a)(3)(B)

of the Exchange Act, has selected and retained Cohen Milstein Sellers & Toll PLLC, and appoints

Cohen Milstein Sellers & Toll PLLC as Lead Counsel for the Class.

          4.     The Court reaffirms that Lead Counsel solely shall have the following responsibilities
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and duties:

               (a)     to coordinate the briefing and argument of motions;

               (b)     to coordinate the conduct of discovery proceedings;

               (c)     to coordinate the examination of witnesses in depositions;

               (d)     to coordinate the selection of counsel to act as a spokesperson at pretrial

conferences;

               (e)     to call meetings of Plaintiff’s counsel as they deem necessary and appropriate

from time to time;

               (f)     to coordinate all settlement negotiations with counsel for Defendants;

               (g)     to coordinate and direct the pretrial discovery proceedings and the preparation

for trial and the trial of this matter and to delegate work responsibilities to selected counsel as may

be required; and

               (h)     to supervise any other matters concerning the prosecution, resolution or

settlement of this action.

       5.      The Court reaffirms that no motion, request for discovery, or other pretrial

proceedings shall be initiated or filed by any plaintiff other than the Lead Plaintiff, and that no

settlement negotiations shall be conducted without the approval of the Lead Plaintiff and Lead

Counsel.

       6.      The Court reaffirms that the Pension Fund, under Section 21D(a)(3)(B) of the

Exchange Act, has selected and retained Tinkler Law Firm LLC as Liaison Counsel, and appoints

Tinkler Law Firm LLC as Liaison Counsel for the Class.

       7.      Daryl G. Hawkins and his firm (Law Office of Daryl G. Hawkins, LLC), Edward D.

Sullivan and his firm (Sullivan Law Firm PC), and Gordon Ball and his firm (Gordon Ball LLC) will

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be additional counsel to the proposed Class to work under the direction of Lead Counsel.

       IT IS SO ORDERED.



                                            /s/ Margaret B. Seymour
                                            Senior United States District Judge

Columbia, South Carolina

July 14, 2021




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